Case 2:18-cr-00178-DBH

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INDICTMENT SYNOPSIS U3. GISTRICT CO URI
November 30, 2018 ean
RECEIVED 4 FILED
Name: SHOU CHAO LI
dus '
a/k/a “Driver” and “Uncle” OV 30 Pu Ol
Address: Concord, New Hampshire OLFUTY CLERK
(City & State Only)

 

Year of Birth and Age:

1981 — Age 37

 

Violations:

COUNT ONE: Conspiracy, in violation of 18 U.S.C. §§
371, 2421, 2422(a) & 1952(a}(3), (b)(1)

COUNTS TWO & THREE: Sex Trafficking by Fraud &
Coercion, in violation of 18 U.S.C. § 1591(a)(1) and
1594(a).

COUNT FOUR: Unlawful Conduct Regarding
Documents in Furtherance of Trafficking, in violation of
18 U.S.C. § 1592(a)(1) & (a)(2).

COUNTS FIVE - NINE: Transportation for Purposes of
Prostitution, in violation of 18 U.S.C. § 2421 (a) and 2.

 

Penalties:

COUNTS ONE & FOUR: Not more than 5 years
imprisonment (18 U.S.C. § 371), a fine not to exceed
$250,000 fine (18 U.S.C. § 3571(b)(3)), or both. This is a
Class D felony.

COUNTS TWO & THREE: Imprisonment of not less
than 15 years and not more than life (18 U.S.C. §
1591(b)(1)), a fine not to exceed $250,000 (18 U.S.C. §
3571(b)(3)), or both. This is a Class A felony.

COUNTS FIVE - NINE: Imprisonment of not more than
10 years (18 U.S.C. § 2421(a)), a fine not to exceed
$250,000 (18 U.S.C. § 3571(b)(3)), or both. This is a
Class C felony.

 

 

Supervised Release:

 

COUNTS ONE & FOUR - NINE: Not more than 3
years. 18 U.S.C. § 3583(b)(2).

COUNTS TWO & THREE: Not more than 5 years. 18
U.S.C. § 3583(b)(1).

 

 
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Maximum Term of Imprisonment for
Violation of Supervised Release:

COUNTS ONE & FOUR -NINE: 2 years. 18 U.S.C. §
3583(e}x(3).

COUNTS TWO & THREE: 3 years. 18 U.S.C. §
3583(e)(3).

 

Maximum Add’l Term of Supervised
Release for Violation of Supervised
Release:

COUNTS ONE & FOUR-NINE: Not more than 3 years
less any term of imprisonment imposed on the
violation.18 U.S.C. § 3583(h).

COUNTS TWO & THREE: Not more than 5 years less
any term of imprisonment imposed on the violation.18
U.S.C. § 3583(h).

 

Defendant’s Attorney:

Unknown

 

Primary Investigative Agency and Case
Agent Name:

FBI - Townsend

 

Detention Status:

Warrant to issue.

 

Foreign National:

Now a naturalized U.S. Citizen.

 

Foreign Consular Notification Provided:

No, see above.

 

 

 

 

 

 

County: Cumberland & York
AUSA: Darcie N. McElwee
Guidelines apply? Y/N Y

Victim Case: Y

Corporate Victims Owed Restitution: N/A

Assessments:

 

 

$100 per count

 
